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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


Daniel McGough,

                        Plaintiff,      Case No. 24-cv-12820

v.                                      Judith E. Levy
                                        United States District Judge
Victoria I. Shackelford, et al.,
                                        Mag. Judge Anthony P. Patti
                        Defendants.

________________________________/

       ORDER DISMISSING CASE WITHOUT PREJUDICE

     On October 22, 2024, Plaintiff Daniel McGough initiated this action

under 42 U.S.C. § 1983 against the following Defendants: 23rd District

Court Judge Victoria I. Shackelford; Taylor Police Department Detective

Mark Johnston; and Taylor Police Department Officers Katlyn

Bartaway, Edward Moore, Larry Frederick, and Lamar Frederick. On

November 5, 2024, the Court issued an order striking the complaint filed

by Plaintiff because “[t]he complaint [wa]s not signed by Plaintiff, who is

self-represented.” (ECF No. 5, PageID.11 (citing Fed. R. Civ. P. 11(a)).)

The Court’s order stated that “[b]y November 18, 2024, Plaintiff must

file an amended complaint that contains his handwritten signature.” (Id.
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(emphasis in original).) Plaintiff did not file an amended complaint by

that date. As a result, the Court issued a show cause order on April 7,

2025. (ECF No. 10.) The Court’s order contained the following language:

     Plaintiff is ordered to show cause in writing why the Court
     should not dismiss the action for failure to comply with the
     Court’s [November 5, 2024] order. See Fed. R. Civ. P. 41(b).
     Plaintiff’s response to this show cause order is due by April
     18, 2025. Failure to file a response by April 18, 2025 will
     result in sanctions, including the dismissal of the
     action.

(Id. at PageID.24 (emphasis in original).)

     The deadline for Plaintiff to respond to the Court’s April 7, 2025

show cause order has elapsed, and the Court has not received any

communication from Plaintiff. Plaintiff has not responded to the show

cause order. Nor has he submitted an amended complaint or asked for

more time to file a response or an amended complaint. The Court

previously warned Plaintiff about the possibility of dismissal if he failed

to respond within the specified time frame. (See id.) In light of Plaintiff’s

non-compliance with the Court’s orders—as well as the current posture

of the case—the Court finds it appropriate to dismiss the case without

prejudice. See Fed. R. Civ. P. 41(b); E.D. Mich. LR 41.2; Bay Corrugated

Container, Inc. v. Gould, Inc., 609 F. App’x 832, 835 (6th Cir. 2015).

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     Accordingly, the case is DISMISSED WITHOUT PREJUDICE.

     IT IS SO ORDERED.

Dated: May 6, 2025                       s/Judith E. Levy
     Ann Arbor, Michigan                 JUDITH E. LEVY
                                         United States District Judge


                     CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on May 6, 2025.

                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




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